                                                                                                               Form:def3AP

                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Michigan
                                             211 West Fort Street
                                               Detroit, MI 48226


   In Re: (NAME OF DEBTOR(S))                                     Case No.: 21−42581−mar
   Moose M. Scheib                                                Chapter 7
                                                                  Judge: Mark A. Randon

   Kelly Silvera Jarrett                                          Adv. Proc. No. 21−04167−mar
   Plaintiff

   v.

   Moose M. Scheib
   Defendant

                                         NOTICE OF DEFICIENT FILING

It has been determined that the following document:

25 − Motion to Trial Date Hearing On (related documents Minute Entry. Final Pre−Trial Conference) Filed by
Plaintiff Kelly Silvera Jarrett (Attachments: # 1 Exhibit Notice of Trial Date # 2 Exhibit Proposed Order Adjourning
Trial) (Doherty, Paul)

is defective as indicated:

        Amended Document Missing
        Bankruptcy Matter Civil Case Cover Sheet Missing
        Brief Missing
        Docket Number Missing
        Electronic Signature does not match login
        Electronic Signature Missing or Incorrect Format ECF Procedure 11 d−1
        Notice to Respondent Missing or Non−Compliant
        Original Signature Missing or Non−Compliant
        Proof of Service Missing or Non−Compliant
        Proposed Order Missing
        Redacted Document Missing or Non−Compliant
        Statement of Corporate Ownership Missing
A corrected/missing document must be filed with the court within seven (7) days of this notice. If not corrected, an
order striking the document from the record may be entered by the Court. The new document filed should be
identified as "CORRECTED".


Dated: 8/9/22
                                                                    BY THE COURT

                                                                    Todd M. Stickle
                                                                    Clerk, U.S. Bankruptcy Court




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